                   EXHIBIT 6




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0   Schweizerische Eidgenossenschaft
    Confëdëration suisse
    Confederazione Svizzera
    Confederaziun svizra
                                                     Federal Data Protection and InformationCommissioner FDPIC




    EDÖB-A-C0633401   /2




                                                 Memorandum

                                               dated 25 June 2021



                                                  concerning

                              Swiss Firm Data Processing and Sharing of Information
                               with the U.S. Securities and Exchange Commission




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    1.         Introduction

    l.1        Starting Point

    On 22 December 2020 the Federal Data Protection and InformationCommissioner (FDPIC) was con-
    tacted by the U.S. Securities and Exchange Commission (SEC) and asked whether the FDPIC could
    provide guidance with regard to the question if and how Swiss-domiciled entities registered with the
    SEC may transfer books and records containing personal data to the SEC as part of the SEC’s in-
    spection and examination program. More precisely, the SEC would like to know whether and – if yes –
    under which conditions Swiss data protection law permits a cross-border transfer of personal data to
    the SEC in the course of an examination process conducted by this authority. The FDPIC offered to
    answer this question in the form of a short memorandum for the attentionof the SEC. On 9 February
    2021 the SEC provided the FDPIC with a “Summary of SEC Examination Authority and Process”. The
    findings of this summary (see below 1.2) form the basis for the subsequent legal analysis (see below
    2.). On 31 May 2021, the FDPIC delivered a first version of the memorandum. This version dated 25
    June 2021 is the final one.

    This memorandum reflects the FDPIC’s view of the relevant aspects of Swiss data protection.As the
    FDPIC is only competent to interpret Swiss data protection law, it cannot be discussed whether or
    under which condËtionsa transfer of personal data to the SEC is compatible with other Swiss laws. In
    particular, it must be left open whether or under which conditionscriminal law allows the transfer of
    personal data covered by the protection of secrets under criminal iaw1.FinaIËy,but the Swiss courts
    are competent to decide in a legally binding way about the interpretation of Swiss data protection law


    1.2        Summary of SEC Examination Authority and Process

    In its “Summary of the SEC Examination Authority and Process” the SEC states as follows:

          “Pursuant to the U.S. law, certain firms must retain certain books and records and provide them di-
          rectly to the U.S. Securities and Exchange Commission (“SEC”) upon request. These firms include
          Swiss-based firms or branches that are registered, required to be registered, or otherwise regulat-
          ed by the SEC as investmentadvisers, broker-dealers, clearing agencies, and transfer agents. The
          universe of Swiss-based registrants currently includes 66 investmentadvisers, 1 broker-dealer, and
          7 broker-dealer branch offices. There are 10 Swiss-based investment advisers with pending appli-
          cations for SEC registration. The SEC also expects 2 Swiss-based security-based swap dealers to
          register by the end of 2021. The SEC may also request information from Swiss-based entities that
          are not registered with the SEC, including audit firms, in furtherance of examinations of SEC regis-
          trants or in other limitedcircumstances.

          Examples of relevant U.S. laws include Section 204 of the Investment Advisers Act of 1940 (“Ad-
          visers Act”), which gives the SEC the authority to request and examine the books and records of an
          SEC regulated investment adviser. Section 17 of the Securities Exchange Act of 1934 (“Exchange
          Act”) provides the same authority in connection with SEC registered broker-dealers, clearing agen-
          cies, transfer agents, and other types of SEC regulated entities. Various rules, includingRule 204-2
          of the Advisers Act and Rule 17a-4 of the Exchange Act, require firms to make and keep certain
          records and provide copies thereof to SEC staff upon request.

          As part of the examination process, SEC staff typically sends the entity a letter notifying it of the
          examination and containing an initial request list that identifies certain information or documents
          that SEC staff will review as part of the examination. As the examination progresses, staff sends
          the entity additionalrequests for informationand documents, as needed. U.S. securities laws re-


          Namely bank-client and business confidentiality
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      quire entities to provide requested documents promptly to SEC staff, unredacted. In practice and
      as a courtesy, SEC staff asks that entities provide requested documents, includingthose contain-
      ing personal data, no later than two weeks from the date of the request. SEC staff requests these
      books, records, and other materials to evaluate compliance with U.S. legal obligations and to pre-
      vent and/or enforce against potential illegal behavior. Failure to provide information promptly as re-
      quested would generally violate the firm’s regulatory requirements, would be deemed to be imped-
      ing an examination, and might result in an enforcement referral or, if severe, an enforcement ac-
      tion

      The SEC does not conduct routine or cycle examinations. Instead, the SEC uses a risk-based ap-
      proach to selecting examinationcandidates and scope areas for each examination. For example,
      SEC staff examines approximately 15 percent of all (domestic and international)SEC registered in-
      vestment advisers (RIAs) each year. The selection of firms to examine is based on a risk-based
      assessment. SEC staff considers a number of potentialrisk factors, such as, among others, prod-
      ucts and services offered, prior examination observations and conduct, disciplinary history of asso-
      ciated individuals or affiliates, changes in leadership or other personnel, and, in the context of Rl-
      As, whether a RIA has access to investor assets. As a result, the determination of whether to ex-
      amine a firm is evaluated year to year. Once SEC staff selects a firm for examination, we conduct
      an additional risk assessment at the firm level to determine the scope of the examination (that is,
      selecting particularareas of the business for review). Therefore, aside from certain requests for
      background information(e.g., organizational charts) that are standard requests in each exam, the
      scope of the examination (and consequently the documents requested) varies from firm to firm de-
      pending on the firm’s business model and associated risks.

      Depending on the scope of the particular examination of an entity, information requested during an
      examinationfocuses on a wide range of information,includingoffice policies, procedures, organiza-
      tionalcharts, employee lists, director details, board meeting minutes, employee disciplinary history,
      employment applications/questionnaires, employee personal trading records, financial transaction
      records, customer complaints, customer agreements, intemal communications, and documents re-
      latingto service providers such as consultants and auditors (see Attachment A for some examples
      of SEC staff requests). Many of these records include personal data, which is needed to assess
      compliance witha number of requirements under the U.S. securities laws. It is the SEC’s practice
      to limitthe type and amount of personal data it requests during examinations to targeted requests
      based on risk and relatedto specific clientsand accounts, and employees.That said, some degree
      of personal data of employees and clients (both individual and institutional)regardless of their
      physical locationor nationalityis crucial to assessing compliance with many obtigations under the
      U.S. laws, such as the existence of conflicts of interest and whether clients are treated fairly. The
      requested informationmay include follow-up requests regarding some limitedadministrative or
      criminal proceedings and sanctions informationthat constitute “sensitive personal data” under the
      Swiss Federal Act on Data Protection that have already been reported to the SEC as part of the
      registration and reporting regimes.

      SEC examinations are non-public. Information, data, and documents received by the SEC are
      maintained in a secure manner and, under strict US laws of confidentiality.Informationabout indi-
      viduals cannot be onward shared save for certain uses publicly disclosed by the SEC, includingin
      an enforcement proceeding, pursuant to a lawfulrequest of the U.S. Congress or a properly issued
      subpoena, or to other regulators who have demonstrated a need for the information and provide
      assurances of confidentiality. Information from SEC examinations is also subject to provisions of
      the U.S. Freedom of Information Act that protect confidential information. The SEC uses what it ob-
      tains solely for its own lawful, regulatory purpose and is subject to audit by the US Government Ac-
      countability Office and other govemmental oversight.”




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    1.3     Relevant Legal Basis

    The relevant Swiss legal bases are the Federal Act on Data Protection of 19 June 1992 (FADP;
    CC 235.1), the Ordinanceto the Federal Act of Data Protectionof 14 June 1993 (DPO; CC 235.11),
    the Federal Act on the Swiss Financial Market Supervisory Authority of 22 June 2007 (FINMASA;
    CC 956.1), as far as it refersto aspects of data protection,as wellas Switzerland’sFederal Code on
    Private International Law of 18 December 1987 (CPIL; CC 291 )

    The current FADP was recently subject to a total revision; it is foreseen that the revised version – the
    Federal Data Protection Act of 25 September 2020 (Revised FADP; published in the Swiss Federal
    Gazette 2020, p. 7639 ss.) – will come intoforce in the course of 2022. In the context of this memo-
    randum, the legal situation under the Revised FADP will be considered where necessary.

    As explained furtherbelow, there are situations where the General Data Protection Regulation
    (GDPR) applies, even though the company processËngthe data is domiciled in Switzerland (see below
    2.1). However, this memorandum focuses on Swiss law and does not consider the GDPR, the inter-
    pretation of which is primarily a task of the competent data protection authorities and courts in the EU.


    2.    Legal Analysis
    2.1     Applicability of the FADP

    The FADP applies to the processing of personal data pertainingto natural persons and legal persons
    (see Art. 2 para. 1 FADP). The Revised FADP applies – as the GDPR – but to the processing of per-
    sonal data pertainingto natural persons (see Art. 1 Revised FADP). Personal data is all information
    relating to an identifiedor identifiable person (see Art. 3 let. a FADP). Processing means any opera-
    tion withpersonal data, irrespective of the means applied and the procedure, and in particular the
    collection, storage, use, revision, disclosure, archiving or destruction of data (see Art. 3 let. e FADP)

    If a firm is domiciled in Switzerland and processes personal data in Switzerland, infringements of per-
    sonality rights resultingfrom the processing of personal data are governed, at the option of the injured
    party, by the FADP even if the person whose data is processed (the data subject) is domiciled abroad
    (see Art. 139 para. 3 and para. 1 let. b CPIL). Consequently, the FADP can also apply if a Swiss-
    domiciledentity processes personal data of U.S. residents or EU residents. Furthermore, if a controller
    or processor established in Switzerland processes personal data of natural persons who are in the
    EU, there are certain situations where the GDPR applies (see Art. 3 para. 2 GDPR)

    In certain cases, the FADP does not apply, even though personal data are processed (see Art. 2 pa-
    ra. 2 FADP). It does, in particular, not apply in the case of one of the followËngpending proceedings
    (see Art.2 para. 2 let.c FADP): pendingcivilproceedings,crËminal
                                                                   proceedings,international
                                                                                          mutual
    assistance proceedings and proceedings under constitutionalor under administrativelaw (with the
    exception of administrative proceedings of first instance). The idea of the legislator was that, in these
    situations, the relevant procedural law assures data protection. In cases where Swiss-domiciled enti-
    ties are required to transfer personal data to the SEC as part of the SEC’s examination program, there
    are no pending proceeding in the sense of Art. 2 para. 2 let. c FADP2. There are not any other reasons
    excludingthe applicationof the FADP either. Consequently, the FADP applies.




    2 See Du PASQUIER/MENouD, in: Watter et al. (eds.), Finanzmarktaufsichtsgesetz / Finanzmarktinfra-
      strukturgesetz,3. ed., Basel 2019, Art. 42c N 30, regardingthe transferof informationbased on
      Art. 42c para. 1 FINMASA.
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    2.2      Cross-border Disclosure: Introduction

    The cross-border disclosure of data is ruled by Art. 6 FADP. Disclosure means making personal data
    accessible, for example by permittingaccess, transmission or publication(see Art. 3 let. f FADP)

    Under Swiss law, personal data may not be disclosed abroad if the privacy of the data subjects would
    be seriously endangered thereby, in particulardue to the absence of a legislationthat guarantees
    adequate protection(see Art. 6 para. 1 FADP). The FDPIC publtshes a (non-binding) listof the states
    whose legislation ensures an adequate level of data protection (Art. 7 DPO)3. In his opinion, the U.S
    Ëegislationdoes not guarantee an adequate protectionof the privacy as required by the FADP4,

    According to the FADP, anyone who processes personal data must not unlawfullybreach the privacy
    of the data subjects in doing so (Art. 12 para. 1 FADP). If there is a data transfer to a country withouta
    legislationthat guarantees adequate data protection (see Art. 6 para. 1 FADP), the privacy of the data
    subject is, as a rule, unlawfullybreached

    In general, a breach of privacy is unlawful unless it is justifËed by the consent of the injured party, by
    an overriding private or public interest or by law (see Art. 13 para. 1 FADP). With regard to data trans-
    fers to a country withouta legislation guaranteeing an adequate data protection (see Art. 6 para. 1
    FADP), the legislatorhas created a special rule: Such a data transfer is allowed but in one of the fol-
    lowingspecial situations mentioned in Art. 6 para. 2 FADP:

        a.   sufftcient safeguards, in particular contractual clauses, ensure an adequate level of protection
             abroad :
        b.   the data subject has consented in the specific case;
        c.   the processing is directly connected withthe conclusion or the performance of a contract and
             the personal data is that of a contractual party;
        d.   disclosure is essential in the specific case in order either to safeguard an overriding public in-
             terest or for the establishment, exercise or enforcement of legal claims before the courts;
        e.   disclosure is required in the specific case in order to protect the life or the physical tntegrityof
             the data subject;
        f.   the data subject has made the data generally accessible and has not expressly prohibited its
             processing;
        g,   disclosure is made within the same legal person or company or between legal persons or
             companies that are under the same management, provided those involved are subject to data
             protection rules that ensure an adequate level of protection.

    Private entities that want to disclose personal data to the SEC, must make sure that each envisaged
    discËosuremeets the requirements of Art. 6 FADP. Otherwise, they risk to be liablefor damages5. It is
    in their responsibilityto make sure that Art. 6 FADP is observed, not in the responsibilityof the SEC6,

    3
        See Transborder data flows (admin.ch).
    4
        See also the FDPIC’s policy paper on the transfer of personal data to the USA and other countries
        lacking an adequate level of data protection within the meaning of Art. 6 para. 1 Swiss FADP,
        availabËeunder: Transborder data flows (admin.ch). Regarding the GDPR, see Court of Justice of
    5
        the European Union, judgement C-311/18 "Facebook Ireland and Schrems“ of 16 July 2020,
        See MAURER-LÄMBRou/STEINER,       in: Maurer-Lambrou/Blechta (eds.), Basler Kommentar Daten-
        schutzgesetz/Öffentlichkeitsgesetz,   3. ed., Basel 2014, Art. 6 N 13.
    6
        SEC employees that process personal data can only be held responsible under the FADP, if the
        FADP applies to the processing of data by them. Provided that the FADP applies under private in-
        ternational law, the scope of the FADP is limitedto the processing of data by private persons or fe-
        deral bodies (see Art. 2 sec. 1 FADP; also see Art. 2 sec. 1 Revised FADP). “Private persons” are
        those persons that process data in the context of a matterwhich is itself governed by private law.
        The FDPIC assumes that the SEC's supervisory activËtiesare governed by foreign public law. Con-
        sequently, if and to the extent SEC employees act withinthe scope of their supervisory activities,
        they are not private indËvidualswithin the meaning of the FADP and the FADP does not apply
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    Nonetheless,if there is a special legal basis in Swiss law (a legal basis outsidethe FADP) that permits
    a transfer of data to a country without an adequate level of data protection, data processors are not
    bound by Art. 6 FADP and may transfer the data under the specific conditions set up by the special
    legal basis. Whether such a special legal basis exists, is examined below (see below 2.3).

    According to the Revised FADP, there is no unlawfulbreach of privacy (see Art. 30 para. 1 Revised
    FADP) if personal data are disclosed abroad and the Swiss Federal Council has determined that the
    legislation of the relevant State or international body guarantees an adequate level of protection (see
    Art. 16 para. 1 Revised FADP). In the absence of such a decision by the Federal Council, personal
    data may be disclosed abroad only if appropriate protectionis guaranteed by certain legal instruments
    (e.g. an international treaty or data protection provisions of a contract, see Art. 16 para. 2) or in specif-
    ic exceptions, e.g. with an explicit consent of the data subject (see Art. 17 para. 1 Revised FADP).


    2.3        Cross-border Transfers based on Art. 42c para. 1 FINMASA
    2.3.1      Introduction

     Persons and entities that under the financial market acts require to be licensed, recognized, or regis-
    tered by the Financial Market Supervisory Authority as well as collectivecapital investments are sub-
    ject to financial market supervision and consequently to the Financial Market Supervision Act (see
    Art. 3 FINMASA). Financial market supervision has the objectives of protectingcreditors, investors,
    and Ënsured persons as well as ensuring the proper functioning of the financial market (Art. 4 FIN-
    MASA). The supervising authority is the Swiss Financial Market Supervisory Authority (FINMA) (Art. 5
     FINMASA)

    The cooperationwithforeign bodies is ruled by the Art. 42 ss. FINMASA. Art. 42c FINMASA allows for
    the direct transmission of non-public information by supervised parties. According to Art. 42c para. 1
    FINMASA, supervised parties– i.e. supervised persons and entitiesin the sense of Art. 3 FINMASA –
    may transmit non-public information to the foreign financial market supervisory authorities responsible
    for them and to other foreign entities responsible for supervision provided that

       a       the conditions set out in Art. 42 para. 2 FINMASA are fulfilled(see further below 2.3.2)
          b,   and that the rights of clients and third parties are preserved (see further below 2.3.3).

    Transmissions under Art. 42c FINMASA may be made spontaneously or in response to a request from
    a foreign authorityor entity. Art. 42c FINMASA applies but when informationis transmittedfrom Swit-
    zerland to another country7.


    2.3.2      Preservation of the Principle of Specialty and Confidentiality

    Art. 42 para. 2 FINMASA requires that the informationreceived by the foreign financial market super-
    visory authority is used exclusively to implement financial market law, or is forwarded to other authori-
    ties, courts or bodies for this purpose (principle of specialty). Furthermore, the requesting authority is
    bound by officialor professional secrecy, notwithstandingprovisions on the public nature of proceed-
    ings and the notificationof the general public about such proceedings (principleof confidentiality).

    FINMA publishes a list of financial market supervisory authorities to which it has provided administra-
    tive assistance in the past8. The courts have additionally ruled that specific authorities on the list meet
    the conditions regarding the principles of specialty and confidentialityor met them in a specific case at



    7 See FINMA, Circular 2017/6 Direct transmission, N 3 and 4
    8 See https://www.finma.ch/en/supervision/cross-sector-issues/direktuebermittlunq/.
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    the time the decision was made9. If an authority appears on the list, supervised parties may assume
    that it meets the conditions regarding the above-mentioned principles of specialty and confidentialitylo

    The SEC appears on this list,and the FINMA has recentlyconfirmedthatthere are currentlyno indica-
    tions that a transfer of non-public information to the SEC in the course of an examination process con-
    ducted by this authority would not be allowed based on Art. 42c para. 1 let. a FINMASA. However,
    according to Art. 42c para. 1 let. b FINMASA, such transfer is allowed but if the rights of clients and
    third partiesare preserved. As far as this provisionconcerns aspects of Swiss data protection,the
    FDPIC is competent to interpret it.


    2.3.3     Preservation of the Rights of the Clients and Third Parties

    Art. 42c para. 1 let. b FINMASA requires that the rights of clients and third parties are preserved if
    non-public information is transmitted to a foreign financial market supervisory authority. “Clients” are
    the natural persons and legal entities FINMASA and the financial market law are intended to protect,
    namely creditors, investors and insured persons11.In the literature,the view is expressed that the
    holderof the customer secret should be the “client”12.“Third parties” are to be understood as all other
    natural persons and legal entities that are mentioned in the information to be transmitted or can be
    identifiedfrom it, includingemployees of supervised parties, authorized representatives and beneficial
    owners13

    As far as the rightsof clients and third parties are concerned, the relevant FINMA circular states that
    supervised parties must, interalia, preserve business and bank-client confidentiality,data protection
    and rights pertaining to employment relationships14. From the point of view of data protection, Art. 42c
    para. 1 FINMASA is consequently not a legal basis justifyinga transfer of personal data to a country
    without an adequate level of data protection (see Art. 13 para. 1 FADP and above 2.2). It only recalls
    that a cross-border disclosure must be compatible with the FADP, namely with Art. 6 FADP. Private
    entities that are required to transfer personal data to the SEC based on Art. 42c para. 1 FINMASA
    therefore have to respect the conditions set up by Art. 6 para. 2 FADP (see below 2.4).


    2.4       Cross-border Transfers under Art. 6 para. 2 FADP
    2.4.1     General Comments

    According to Art. 6 para. 2 let. a FADP personal data may be transmitted to a country without an ade-
    quate level of data protection if sufficient safeguards, in particular contractual clauses, ensure an ade-
    quate levelof protectionabroad

    The Swiss-U.S. Privacy Shield cannot be considered as a sufficientsafeguard in the sense of Art. 6
    para. 2 let. a FADP: First of all, it is not possible for authorities to be certified under the Swiss- or un-
    der the EU-U.S. Privacy Shield. Secondly, the Court of Justice of the European Union has rendered
    on 16 July 2020 the decision “Schrems II" according to which the EU-US Privacy Shield can no longer




    9    lbid. N 20
    10
         lbid, N 21
    11
         FINMA, Circular 2017/6 Direct transmission, N 16
    12
       See Du PASQUIER/MENouD,in: Watter/Bahar (eds.), Basler Kommentar Finanzmarktaufsichtsge-
       setz/Finanzmarktinfrastrukturgesetz,3. ed., Basel 2019, Art. 42c N 31.
    13
       FINMA, Circular 2017/6 Direct transmission. N 17.
    14
         lbid, N 30.
                                                                                                                    8/17




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    be considered as an “adequacy” mechanism to protect cross-border transfers of personal data to the
    USA. In the view of the FDPIC this is also the case for the Swiss-U.S. Privacy Shield15.

    The FDPIC generally welcomes efforts to create a transfer tool in the sense of Art. 6 para. 2 let. a
    FADP. However, according to applicable Swiss law, the creation of such a tool is not mandatory if a
    disclosure of personal data can be justified by one of the other conditionsmentioned in Art. 6 para. 2
    FADP. In the present case, this could be the consent of the data subject in the specific case (let. b), a
    contract (let. c) or an overriding public interest (let. d) (see below 2.4.2 ss,).


    2.4.2 Consent

    In the absence of a legislationthat guarantees adequate protection, personal data may be disclosed
    abroad if the data subject has consented in the specific case (Art. 6 para. 2 let. b FADP). If the con-
    sent of the data subject is required for the processing of personal data, such consent is valid only if
    given voluntarily on the provision of adequate information (“informed consenf’). AddËtionally,consent
    must be given expressty in the case of processing of sensitive personal data or personality profiles
    (Art. 4 para. 5 FADP). According to the Revised FADP, the consent to a transfer of data to a country
    without an adequate level of data protection must always be given expressly (see Art. 17 para. 1 let. a
    Revised FADP). Providedthatthe data subject has been adequatelyinformed,consent can be given
    by way of a single declarationof consent but, in principle,also by accepting general terms and condi-
    tions

    A data subject’s consent must be given voluntarily(Art. 4 para. 5 FADP). In practice, the data subject
    often does not have a choice. According to the comments of the Swiss Federal Council regarding the
    draft of the current FADP, a consent is not invalid because of the mere fact that a data subject that
    does not give his or her consent is confronted with a disadvantage. A consent is but invalid if there is
    no connection between the disadvantage and the purpose of the data processor or if the disadvantage
    is disproportionatewithregard to this purpose16.Similarly, Art. 7 (4) GDPR states that when assessing
    whether consent is freely given, utmost account shall be taken of whether, inter alia, the performance
    of a contract, includingthe provision of a service, is conditËonalon consent to the processing of per-
    sonal data that is not necessary for the performance of that contract. If a customer consents to a pro-
    cessing purpose that is not necessary for the performance of the contract, such consent is not freely
    given in case that the denialof the consent would lead to the denial of services 17

    In the present case, a firm subject to SEC supervision cannot offer its services to customers if it is not
    willing to transfer customer data required by SEC in the case of an examination process. Anyone op-
    erating in a foreign market must comply with the rules there18. Failure to provide information to the
    SEC would generally violate the firm’s regulatory requirements, would be deemed to be impeding an
    examination, and might result in an enforcement referral or, if severe, in an enforcement action19,

    15
       See the FDPIC’s policy paper on the transfer of personal data to the USA and other countries lack-
       ing an adequate level of data protection within the meaning of Art. 6 para. 1 Swiss FADP, available
       under: Transborder data flows (admin.ch)
    16
       Botschaft zur Änderung des Bundesgesetzes über den Datenschutz (DSG) und zum Bundesbe-
       schluss betreffendden Beitrittder Schweiz zum Zusatzprotokoll vom 8. November 2001 zum Über-
       einkommen zum Schutz des Menschen bei der automatischen Verarbeitung personenbezogener
       Daten bezüglich Aufsichtsbehörden und grenzüberschreitende Datenübermittlungdated 19 Febru-
       ary 2003, Swiss FederalGazette 2003 p. 2101 ss., p. 2127; MAURER-LÄMBRou/STEINER,        in: Maurer-
       Lambrou/Blechta(eds.), Basler Kommentar Datenschutzgesetz/Öffentlichkeitsgesetz,3. ed., Ba-
       seI 2014, Art. 4 N 16f.
    17
       See EDPB Guidelines 05/2020 on consent under Regulation 2016/679, Version 1.1, adopted on
       4 May 2020, N 25 ss., in particular N 33.
    18
       See Botschaft zum Finanzmarktinfrastrukturgesetz(FinfraG) dated 3 September 2014, Swiss Fe-
       deral Gazette 2014 p. 7483 ss., p. 7620.
    19
       Summaryof SEC ExaminationAuthorityand Process; see above 1.2
                                                                                                                 9/17




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    Therefore, if a customer that is informed about the fact that his data can be transferred to the SEC,
    gives his consent to such a data processing, such consent is voluntarilygiven and valid, even though
    the firm would not have been prepared to enter intoa contract if the customer had not consented

    However, if and to the extent data processing is necessary for the performance of the contract, the
    data processorhas, in general, an overridingprivateinterestto process the data (see also Art. 13
    para. 1 FADP) such that the consent of the data subject is not necessary. Furthermore, a given con-
    sent may be revoked at any time. Of course, should the data processingbe necessary for the perfor-
    mance of the contract, the contract could be terminated after the revocation of consent. With regard to
    Swiss firms subject to SEC supervision, this would, however, mean that they could not transfer data of
    former customers to the SEC when required to do so. The question is whether a transfer of customer
    data to the SEC can be justified by contract (Art. 6 para. 2 let. c FADP; see below 2.4.3).


    2.4.3    Contract

    In the absence of a legislationthat guarantees adequate data protection, personal data may be dis-
    closed abroad if the processing is directly connected withthe conclusion or the performance of a con-
    tract and the personal data is that of a contractual party (Art. 6 para. 2 let. c FADP). According to
    Art. 17 para. 1 let. b Revised FADP personal data may be disclosed abroad if the disclosure is directly
    connected with the conclusion or the performance of a contract 1. between the controllerand the data
    subject, or 2. between the controller and its contracting partner in the interest of the data subject20

    Art. 6 para. 2 let. c FADP applies but if personal data of a contractual party is processed. Customers
    of the firms supervised by the SEC are contractual parties to these firms

    Furthermore, data processing must be directly connected with the conclusËonor the performance of a
    contract. This means, e.g., that data must be processed for the purpose of the conclusion or perfor-
    mance of the contract and not on the occasion of the conclusion or performance of a contract21.A
    processing of data in the sense of Art. 6 para. 2 let. c FADP need not be imperativefor the conclusion
    or performance of the contract. However, it must be typical for the relevant contract or at least lie with-
    in the range of expectation of the contractual partner22.A typical example for such data processing ts
    the checking of the creditworthiness of the contractual partner with a credit agency or the disclosure of
    data by travel companies to transport companies in the context of internationaltransport services.

    The question is whether a transfer of customer data to the SEC is directly connected with the perfor-
    mance of the relevant contract. From a strict pointof view, such disclosure is not made for the purpose
    of the performance of the contract, but because the relevant firm has been required to disclose the
    customer data in the course of a SEC examination process. Nonetheless, the record-keeping, report-
    ing and inspection obligations provided for by U.S. law are preconditionsfor the registrationof a Swiss
    firm with the SEC and for rendering the relevant services. Failure to provide information to the SEC
    would generally violate the firm’s regulatory requirements, would be deemed to be impeding an exam-
    inatËon,and might result in an enforcement referral or, if severe, in an enforcement action23.In Swiss
    doctrine, it is controversial whether an invocationof contract as a basis ofjustification is possible in
    case thatthe contract in question has been terminated. However, after the terminationof the contract

    20
         The GDPR provides for analogous provisions, see Art. 49 (1) (b) and (c).
    21
         See RosENTHAL,   in: Rosenthal/Jöri(eds.), Handkommentar  zum Datenschutzgesetz, Zu-
         rich/Basel/Geneva  2008,Art. 13 N 39
    22
         lbid,Art. 13 N 39. Different:Botschaft zur Änderung des Bundesgesetzes über den Datenschutz
         (DSG) und zum Bundesbeschluss betreffendden Beitrittder Schweiz zum Zusatzprotokollvom
       8. November 2001 zum Übereinkommen zum Schutz des Menschen bei der automatisiertenVer-
       arbeitung personenbezogener Daten bezüglich Aufsichtsbehörden und grenzüberschreitende Da-
       tenübermittlungdated 19 February 2003, Swiss Federal Gazette 2003 p. 2101 ss., p. 2129, accord-
       ing to which the processing must be imperativefor the conclusion or performance of the contract.
    23
       Summary of SEC Examination Authority and Process, see above 1.2.
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    the justification of contract is often of particular relevance because here the data processor must, in
    principle, have the possibility to process the data of his contractual partner even against his will and
    therefore without his consent24. In the view of the FDPIC, a data processor has, in principle, a legiti-
    mate interest to transfer the data of his contractual partner to a foreign supervisory authority requiring
    the data, even after the termination of the contract. Consequently, a transfer of data of present or for-
    mer customers to the SEC could be justified by Art. 6 para. 2 let. c FADP

    Art. 6 para. 2 let. c FADP does, however, not justifyany transferof data to any supervisory authority
    Whether a justificationexists, must be decided on the basis of the specific circumstances of the indi-
    vidual case by carefullyweighing up the interests involved25.Otherwise, there would be a risk that
    Swiss data protectionlaw could be undermined by excessive foreign disclosure requirements. The
    starting point for weighingthe interests of the data processor and the data subject can be whether the
    foreign provisions are comparable with analogous Swiss regulations and whether the foreign authori-
    ties to which the data is disclosed provide comparable protectionof the confidentËalityof the data as
    the Swiss authorities26.  The FINMA has powers over Swiss supervisedentitiescomparableto those of
    the SEC27. In order to implement the financial market acts, the FINMA may also itself carry out direct
    audits of supervised persons and entities abroad or have such audits carried out by audit agents (see
    Art. 43 para 1. FINMASA). Furthermore, according to Art. 42c para. 1 let. a FINMASA, supervised
    parties may only transmit non-public information to the foreign financial market supervisory authoritËes
    responsible for them if the conditions set out in Art. 42 para. 2 FINMASA are fulfilled.This means, on
    the one hand, that the information is used exclusively to implement financial market law, or is forward-
    ed to other authorities, courts or bodies for this purpose (Art. 42 para. 2 let. a). On the other hand, the
    requesting authorities have to be bound by official or professional secrecy, notwithstanding provisions
    on the public nature of proceedings and the notificationof the general public about such proceedings
    (Art. 42 para. 2 let. b FINMASA)28. As mentioned above, the SEC is listedon the list of financial mar-
    ket supervisory authorities to which the FINMA has provided administrative assistance. The super-
    vised parties may therefore assume that the SEC meets the conditions mentioned in Art. 42 para. 2
    FINMASA (see above 2.3.2). In view of the fact that the SEC complies withthe requirements of Art. 42
    para. 2 FINMASA, it can be assumed that the SEC provides sufficient protection of the confidentiality
    of the customer data and the supervised parties have therefore, in principle,an overrËdingprivate in-
    terestto disclose such data to the SEC if they have been requiredto do so (see Art. 13 para. 1 FADP).
    If the FINMA may provide administrative assistance and transmit personal data under these condi-
    tions, then it must, in principle,be possible for supervised parties to transmit personal data under the
    same conditions. Consequently, the transfer of customer data to the SEC can be based on Art. 6 para.
    2 let. c FADP provided that, in the individual case, there are not any overweighing interests of the data
    subject that do not allowthe disclosure. It is the responsibilityof the relevantSwiss firm to analyze
    whether there could be such overweighing interests of the data subject and, in case of doubt, to obtain
    the consent of the relevant customer, if possible, or to refuse the disclosure, if necessary,

    At this point, it is expressly left open how a disclosure of personal data that is protectedby secrets
    under criminal law (in particular bank-client confidentiality) can be justified under criminal law, i.e,
    whethera consent is necessary or whether a disclosure can be justified otherwise. If criminal law re-
    quires consent, personal data may not be transferred to the SEC without such consent.


    24
       See RosENTHAL, in: Rosenthal/Jöhri (eds.), Handkommentar zum Datenschutzgesetz, Zu-
       rËch/Basel/Geneva 2008, Art. 13 N 44
    25
       See RAMpINI,in: Maurer-Lambrou/Blechta (eds.), Basler Kommentar Datenschutzge-
       setz/Öffentlichkeitsgesetz, 3. ed., Basel 2014, Art. 13 N 26, regarding Art. 13 para. 2 FADP
    26
       lbid, Art. 13 N 19, regardingArt. 13 para. 1 FADP
    27
       See in particutar Art. 29 FINMASA.
    28
       The reservation of Art. 42 para. 2 let. b FINMASA is necessary to take into account the rules of the
       U.S. Freedom of Information Act that require U.S. regulatory agencies to provide the public with
       regular notice in the media of proceedings that have been institutedand to publish the documents
       used to justify them (Du PASQUIER/MENouD,in: Watter/Bahar (eds.), Basler Kommentar Fi-
       nanzmarktaufsichtsgesetz/Finanzmarktinfrastrukturgesetz,3. ed., Basel 2019, Art. 42 N 86).
                                                                                                                  11/17




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    2.4.4    Data Processing in the Context of an Employment Relationship

    Further above it was discussed whether consent (Art. 6 para. 2 let. b FADP) could be a possible legal
    basis for a cross-border disclosure (see above 2.4.2). However, a data subject's consent must be
    givenvoluntarily(see Art. 4 para. 5 FADP). The FDPIC assumes thatifthediscËosureof employee
    data to the SEC is provided for in the employment contract, the data subject cannot voluntarilycon-
    sent to the data processing in question. Data subjects might, for certain reasons, be forced to work in
    the relevant business, and the consequence of not consenting to the data processing – i.e. the loss of
    a possibilityto find a job with a SEC registrated employer – is not tolerablefor such persons. Conse-
    quently, data processing provided for in an employment contract, cannot be justified by consent.

    The question arËses whether a disclosure of employee data to the SEC can be based on another legal
    basis mentionedin Art. 6 para. 2 FADP. This presupposes firstof allthatthe employeris allowedto
    process the relevant data about the employee. Art. 328b of the Swiss Code of Obligations(CO) states
    that the employer may handle data concerning the employee only to the extentthat such data concern
    the employee’s suitabilityfor his job or are necessary for the performance of the employment contract.

    Data necessary for the performance of the emptoymentcontract are all personal data concerning the
    employee, the processing of which is objectively necessary in order to fulfilla legitimate interest of the
    employer or employee in connection with the performance of the employment contract. On the one
    hand, this includes those data that an employer needs for the fulfillmentof its legal and contractual
    obIËgations. Consequently, data disclosures to authorities within the scope of legal obligations of the
    employer are among those required for the performance of the employment contract29.On the other
    hand, this includes aII data that the employer needs to process in order to fulfillits own legitimatein-
    terests30.This also includes, e.g., the defense against claims by third parties – including authorities –
    against the employer domesticallyor abroad which are based on facts in which the employee was or
    is involved within the framework of his employment relationship31.Legitimate interests of an employer
    in the processing of employee data may still exist after termination of an employment relationship32. In
    the opinion of the FDPIC, a disclosure of employee data to the SEC can be necessary for the perfor-
    mance of the employment contract, in which case data processing is compatible with Art. 328b CO.

    If data in the sense of Art. 328bCO is disclosedabroad, Art. 6 FADP must be observed. In the ab-
    sence of legislationthat guarantees adequate protection, personal data may be disclosed abroad if the
    processing is directly connected with the conclusion or the performance of a contract and the personal
    data is that of a contractual party (Art. 6 para. 2 let. c FADP). This applies to all private contractual
    relationships, includingthose under labor law33.On the basis of the foregoing, the FDPIC assumes
    that a transfer of employee data to the SEC is, in principle, justified by Art. 6 para. 2 let. c FADP. Nev-
    ertheless, it must be examined in each individualcase whether there really is an overriding private
    interest of the data processor that justifies the discËosure(see above 2.4.3). Employee data may also
    be disclosed to the SEC if there is an overriding public interest (see Art. 6 para. 2 let. d FADP and
    below 2.4.5).


    2.4.5    Overriding Public Interest

    In the absence of a legislationthat guarantees adequate protection, personal data may be dËsclosed
    abroad if disclosure is essential in the specific case in order to safeguard an overriding public interest


    29
         EpINEY/CIVITELLÄ/ZBINDEN, Datenschutzrecht in der Schweiz, Freiburger Schriften zum Europarecht
         Nr. 10, 2009 (avaËlableunder: Microsoft Word - Cahier10 (unifr.ch)), p. 35 and 36.
    30
         RosENTHAL, in: Rosenthal/Jöhri (eds.), Handkommentar zum Datenschutzgesetz, Zu-
         rich/Basel/Geneva2008, Art. 328b OR N 38 and N 39
    31
         lbid, Art. 328b OR N 39.
    32   lbid, Art. 328b OR N 27 and N 40.
    33
         See ibid,Art. 328b OR N 16, withregard to Art. 13 para. 2 let.a FADP
                                                                                                                  12/17




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    (Art. 6 para, 2 let. d FADP). According to Art. 17 para. 1 let. c Revised FADP such disclosure abroad is
    allowed if it is “necessary” in order to safeguard an overriding public interest.

    Art. 6 para. 2 let. d FADP concerns individualcases and does notjustify the systematic and regular
    disclosure of data, The FDPIC understands that SEC requests are not regular or predictable, even
    though it is not excluded that large SEC regulated Swiss firms might receive several requests

    The existence of an overriding public interest must be proven under the specific circumstances. A
    purely hypothetical interest is not sufficientBI. Examples of overriding public interests include security
    as well as combating of fraud and money laundering. In Swiss doctrine, an overrËding public interest is
    also considered possible in the event that a company is required by foreign law to disclose business
    records, for example in the context of supervision by a foreign regulatory authority35.Furthermore, with
    Art. 42c para. 1 FINMASA, the legislator has, in principle, advocated direct transmissions to the SEC
    The FDPIC therefore assumes that a transfer of personal data to the SEC is, in principle,justified by
    an overriding public interest. It can be based on Art. 6 para. 2 let. d FADP provided that, in the individ-
    ual case, there are not any overweëghinginterests of the data subject that do not allowthe disclosure.

    With regard to clientdata, the FINMA considers the FDPIC’s approach to be compatible with the spe-
    cial protectionof client confidentialityunder Art. 43 para. 3bis FINMASA – the so called "private bank-
    ing carve out". This special protection of client confidentiality is tailored to on-site inspections and has
    no implicationon cross-border transfers of client data under Art. 42c FINMASA. Furthermore, the
    FDPIC expressly leaves open how a disclosure of personal data that is protected by secrets under
    criminal law (in particular bank-client confidentiality) can be justified under criminal law, i.e. whether a
    consent is necessary or whether a disclosure can be justified otherwise. If criminal law requires con-
    sent, personal data may not be transferred to the SEC withoutsuch consent (see above 1.1 and
    2.4.3)


    2.4.6   Conclusion regarding Art. 6 para. 2 FADP

    The FDPIC generally welcomes efforts to create a transfer tool in the sense of Art. 6 para. 2 let. a
    FADP as such tools can provide adequate data protectionand create legalcertainty.

    He is, however, of the opinion that – from the perspective of data protection– a cross-border transfer
    of data to the SEC can be justified either by contract (Art. 6 para. 2 let. c FADP; see above 2.4.3 and
    2.4.4) or by an overriding public interest (Art. 6 para. 2 let. d FADP; see above 2.4.5), provided that, in
    the individualcase, there are not any overweighing interests of the data subject that do not allowfor
    the disclosure. It is the duty and responsibility of the relevant Swiss firm to analyze whether there
    could be such overweighinginterests of the data subject.

    A data transfer to the SEC can also be justified by the consent of the data subject (Art. 6 para. 2 let. b
    FADP; see above 2.4.2). Provided that the data subject has been adequately informed, consent can
    be given by way of a single declaration of consent but, in principle, also by accepting general terms
    and conditions. A given consent can, however, be revoked at any time. In case data processing has
    been accepted by general terms and conditions and is later on revoked, the contract between the
    Swiss firm and its customer must be terminated as the record-keeping, reporting and inspection obli-
    gations provided by U.S. law are preconditions for rendering the relevant services. Once the contract
    is terminated, consent can no longer serve as a legal basis for record keeping or a disclosure of data
    to the SEC


    34
       See also Botschaftzum Bundesgesetz über die Totalrevisiondes Bundesgesetzes über den Da-
       tenschutz und die Änderung weiterer Erlasse zum Datenschutz dated 15 September 2017, Swiss
       FederalGazette 2017 p. 6941 ff., p. 7042.
    35
       See RosENTHAL, in: Rosenthal/Jöhri (eds.), Handkommentar zum Datenschutzgesetz, Zu-
       rich/Basel/Geneva 2008, Art. 13 N 31.
                                                                                                                   13/17




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    The FDPIC expressËyleaves open how in cases of personaldata protectedby otherSwiss laws a
    dËsclosureto the SEC can be justified. In particular, it must be left open under which conditions crimi-
    nal law allows the transfer of personal data covered by the protection of secrets under criminal law. If
    criminal law requires consent, personal data may not be transferred to the SEC withoutsuch consent


    2.5       Data Protection Principles
    2.5.1     General Comments

    Even if a cross-border data transfer is compatiblewithArt. 6 FADP, a data processor must always
    observe the fundamental data protection principles mentioned in Art. 4, 5 and 7 FADP; otherwise the
    transfer is contrary to data protection.

    Data processing must be proportionate (see Art. 4 para. 2 FADP). This means that a data processor
    may only d}sclose that data to the SEC that is suitable and necessary to achieve the intended pur-
    pose; furthermore, the data processing must be bearable for the data subject, both in terms of its pur-
    pose and its means. A violatËonof the principle of proportionality can be avoided by blackening data

    Another important principle is that the collection of personal data must be evident to the data subject
    (see Art. 4 para. 4 FADP). Underthe Revised FADP, it does no longersufficethatthecollectionof
    data is evident to the data subject; rather the controller is obliged to inform the data subject appropri-
    ately about the collectionof personal data (see Art. 19 para. 1 Revised FADP). The principle of evi-
    dence in Art. 4 para. 4 FADP as well as the obligationto informin Art. 19 Revised FADP only applyif
    data are collected, but not if they are processed in another way. However, Art. 4 para. 2 FADP as well
    as Art. 6 para. 2 Revised FADP state that data processing must be carried out in good faith, which can
    mean that in certain situations not only the collectionof personal data but also other forms of data
    processing must be made transparent (see full details below 2.5.2 ss.).

    According to Art. 5 FADP anyone who processes personal data must make certaËnthat it is correct.
    Moreover, personal data must be protected against unauthorized processing through adequate tech-
    nicaland organizationalmeasures (Art. 7 para. 1 FADP)

    2.5.2 Evidence of the Collection of Personal Data

    According to Art. 4 para. 4 FADP, the collectionof personal data and in particularthe purpose of its
    processing must be evident to the data subject. The decisive factor is whether a (fictitious)average
    addressee or customer can recogntze on the basis of the specific circumstances in the individualcase
    that data is being collected, from whom and for what purpose, and to whom they are forwarded36.

    With regard to the point in time at which the data collection must be evident, it must, in principle, be
    evident at the time the data collection occurs; at the very least, it must be possËbleto foresee the exact
    time at which certain data will be collected. If, however, it is not reasonable for the data processor to
    indicate the exact point in time of the acquisition (namely because this would cause a great deal of
    effort), the later collectionof data can be made evident in advance by corresponding general refer-
    ences or contractual provisions. Yet the more sensitive the personal data in question, the more likely it
    is that the data processor can be expected to make it evident at the time of the collection37

    The Swiss firms subject to supervision by the SEC collect data at the beginning or in the course of the
    contractual relationshipwith their customer. The collectionof the data and the purpose of its pro-

    36 Bundesamt für Justiz, Bundesgesetz über den Datenschutz, Änderung vom 24. März 2006: Häufig
       gestellteFragen zur Umsetzung bei der Datenbearbeitungdurch Private, 30.11.2007 (available
          under: Datenschutz (admin.ch),   p. 2.
    37    lbid P 2
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    cessing – also a possible disclosure to the SEC – is in general made evident by corresponding con-
    tractual provisions. The question is whether aIso the processing of personal data in the case of a spe-
    cific request by the SEC (i.e. the preparing, compiling and the intended disclosure of the data) must be
    made transparent. It can be argued that, at the time of a request by the SEC, the supewised Swiss
    firm is already in possession of the relevant data, which means that there is generally no collection of
    data and Art. 4 para. 4 FADP consequently does not apply. On the other hand, according to Art. 4
    para. 2 FADP data processing must be carried out in good faith. This provision is likelyto contain a
    general obligation to inform the data subjects about the processing of their data whenever this is nec-
    essary in view of the circumstances and based on a loyal and trustworthyconduct38.However, if the
    SEC requests personal data the collection of which has taken place in an earlier stage and in compli-
    ance withArt. 4 para. 4 FADP, Art. 4 para. 2 FADP generallydoes not obligethe supervised Swiss
    firm to inform the data subject that these data are now actuaIËyprocessed due to a request by the
    SEC, even if it is sensitive personal data39or personality profiËes40.Where the data processor wants to
    obtain the consent of the data subject for a specific data transfer, Art. 4 para. 5 FADP provides that
    data subject must be informed of the intendeddata transfer in an adequate way (see above 2.4.2).

    The Revised FADP aims at strengtheningthe evidence of the collectionof personal data. According to
    Art. 19 para. 1 Revised FADP, the controller informs the data subject appropriatelyabout the collec-
    tion of personal data. At the time of collection, the controller shall provide to the data subject all infor-
    mation that is required in order for the data subject to assert his rights according to this Act and to
    ensure transparent processing of data. He shall, if applicable, also inform about the recipients or the
    categories of recipientsto which personal data is disclosed (Art. 19 para. 2 let. c FADP), and if per-
    sonal data is disclosed abroad, the controller informs the data subject of the name of the State or in-
    ternational body and, as the case may be, the safeguards according to Art. 16 para. 2 or the applica-
    bilityof one of the exceptions provided for in Art. 17 (Art. 19 para. 4 FADP). However, Art. 19 Revised
    FADP regulates – as Art. 4 para. 4 FADP – but the information on data collection and does not oblige
    to inform about every form of data processing. Also the Revised FADP states that data processing
    must be carried out in good faith (see Art. 6 para. 2 FADP), but the question whether a specific in-
    tended data transfer to the SEC must be made transparent to the data subject, can be answered in
    the same way as under current law.


    2.6       Breach of Professional Confidentiality

    The question is whether a Swiss firm employee who transfers personal data to the SEC can be liable
    to prosecutionunder the FADP or the Revised FADP. According to Art. 35 para. 1 FADP, anyone who
    without authorization willfullydiscloses confidentiai sensitive personal data or personality profiles that
    have come to their knowledge in the course of their professional activities where such activities require
    the knowledge of such data is, on complaint, liable to a fine. The same penalties apply to anyone who
    without authorizatËonwillfullydiscloses confidential sensitive personal data or personaIËty profiles that
    have come to their knowledge in the course of their activities for a person bound by professional con-
    fidentialityor in the course of trainingwithsuch a person (Art. 35 para. 2 FADP).

    Art. 35 FADP only applies with regard to sensitive personal data or personality profiles.Sensitive data
    is data on 1. religious, ideological, politicalor trade union-relatedviews or activities, 2. health, the inti-
    mate sphere or the racial origin, 3. social security measures or 4. administrativeor criminal proceed-
    ings and sanctions (see Art. 3 let. c FADP). Other personal data such as e.g. financial data are not
    covered by this provision. The scope of application of Art. 35 FADP is therefore narrower than that of
    Art. 74 Swiss Federal Act on Banks and Savings Banks of 8. November 1934 (CC 952.0) which pro-

    38
         EpINEY/CIVITELLÄ/ZBINDEN, Datenschutzrecht     in der Schweiz, Freiburger Schriften zum Europarecht
         Nr. 10, 2009 (available under: Microsoft Word - Cahier10 (unifr.ch)), p. 23.
    39
         Such as, e.g., data on administrative or criminal proceedings and sanctions.
    40
         Art. 14 para. 1 FADP states that the controller of the data file is obliged to inform the data subject of
         the collection of sensitive personal data or personality profiles. This provision does not apply where
         there is no collectionof such data, but another form of data processing
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    tects bank-client confidentiality. A personality profile is a collection of data that permits an assessment
    of essential characteristics of the personality of a natural person (see Art. 3 let. d FADP).

    According to Art. 35 FADP, only the disclosure of confidentialdata is punishable. Data is confidentiaË
    in the sense of this provision if it is neither in the public domain nor generally accessible, the person
    concerned wants to keep the data confidential,and his or her interest in secrecy is an objectively legit-
    imate one41.The disclosure must be unauthorized. In any case, this is not the case if the disclosure
    complies with data protection requirements42. Furthermore, the data must be disclosed willfully.

    In view of the limited scope of application of Art. 35 FADP, the FDPIC expects that employees of
    Swiss firms that transfer data to the SEC are only exceptionally liable to prosecution.

    Under the Revised FADP, a person shall be liableon complaintto a fine of up to 250’000 Swiss
    Francs if he willfullydiscloses confidential personal data of which he has gaËned knowledge while ex-
    ercising his profession which requires the knowledge of such data (Art. 62 para. 1 Revised FADP)
    The same penalty applies to anyone who willfullydiscloses confidentialpersonal data of which he has
    gained knowledge in the course of his activities for a person bound by a confidentialityobligationor in
    the course of trainingwithsuch a person (Art. 62 para. 2 Revised FADP)

    The Revised FADP extends the protection of secrecy to all types of personal data. Again, the decisive
    factor is that the data is confidential

    It cannot be excluded that a firm employeQ will cite this provision as a reason not to transfer personal
    data to the SEC. However, the FDPIC assumes that a disclosure of data that is compatible with the
    Revised   FADP   is not punishable.   Furthermore,   the data must be disclosed   willfully,


    2.7       Conclusions

    The SEC would like to know whether and – if yes – under which conditions – Swiss data protection
    law allows Swiss-domiciled entities registered with the SEC to transfer personal data to the SEC in the
    course of an examination process conducted by this authority,

    The U.S. legislationdoes not guarantee an adequate protectionof the privacy as required by the
    FADP. A transferof personaldata to the SEC must thereforebe justifiedunder Art. 6 para. 2 FADP.
    The FDPIC generallywelcomesefforts to create a transfer toolin the sense of Art. 6 para. 2 let. a
    FADP. He is, however, of the opinion that – from the perspective of data protection – a disclosure of
    data to the SEC can, in principle, be justified either by the consent of the data subject (Art. 6 para. 2
    let. b), by contract(Art. 6 para. 2 let. c) or by an overridingpublicinterest(Art. 6 para. 2 let.d FADP)
    (see above 2.4.6, with furtherreferences)

    The FDPIC expressly leaves open how in cases of personal data protectedby other Swiss laws a
    disclosure to the SEC can be justified. In particular, it must be left open under which conditions crimi-
    nal law allows the transfer of data covered by the protection of secrets under criminal law. If criminal
    law requires consent, then personal data may not be transferred to the SEC without such consent.

    Even if a cross border data transfer is compatible withArt. 6 FADP, a data processor must always
    observe the fundamental data protection principles mentioned in Art. 4, 5 and 7 FADP; otherwise the
    transfer is contrary to data protection. According to Art. 4 para. 4 FADP, the collection of personal data
    and in partËcularthe purpose of its processing must be evident to the data subject. The collection of
    the data and the purpose of its processing – also a possible disclosure to the SEC – is, in general,

    41 See Botschaft zum Bundesgesetz über den Datenschutz (DSG) dated 23 March 1988, Swiss Fe-
       deral Gazette 198811p. 413 ss., p. 485.
    42 RosENTHAL,in: Rosenthal/Jöhri (eds.), Handkommentar zum Datenschutzgesetz, Zu-
       rich/Basel/Geneva 2008, Art. 35 N 14.
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    made evident by corresponding contractual provisions. If the SEC requests personal data the coltec-
    tionof which has taken place in an earlier stage and in compliance with Art. 4 para. 4 FADP, the su-
    pervised Swiss firm is generally not obligedto inform the data subject that these data are now actually
    processed due to a request by the SEC, even if it is sensitive personal data or personality profiles. In
    the view of the FDPIC, the legal situation is the same under the Revised FADP (see above 2.5).

    The question is whether a Swiss firm employee who transfers personal data to the SEC can be liable
    to prosecution under the FADP or the Revised FADP for a breach of professional confidentiality.In
    view of the limitedscope of application of Art. 35 FADP, the FDPIC expects that employees of Swiss
    firms that transfer data to the SEC are only exceptionally IËableto prosecution under the FADP. Under
    the Revised FADP, whichextends the protectionof secrecy to alltypes of personal data, it cannot be
    excluded that a,firm employee will cite Art. 62 Revised FADP as a reason not to transfer personal data
    to the SEC. However, the FDPIC assumes that a disclosure of data that is compatible with the Re-
    vised FADP is not punishable. Furthermore, the data must be disclosed wiIËfully(see above 2.6).




                                                                     The Commissioner



                                                                     Adrian Lobsiger




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